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                            EXHIBIT 4
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From:                James Bryant
To:                  Lowell, Abbe David
Subject:             RE: Lum
Date:                Thursday, September 13, 2018 4:36:04 PM
Attachments:         Document Production.zip


Abbe:

Please find attached documents that we discussed.

Best,

James A. Bryant II
The Cochran Firm - California
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